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                               EXHIBIT B
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                   Model COBRA Continuation Coverage Election Notice
                                    Instructions

The Department of Labor has developed a model Consolidated Omnibus Budget Reconciliation
Act of 1985 (COBRA) continuation coverage election notice that the Plan may use to provide the
election notice. To use this model election notice properly, the Plan Administrator must fill in the
blanks with the appropriate plan information. The Department considers use of the model election
notice to be good faith compliance with the election notice content requirements of COBRA. The
use of the model notices isn’t required. The model notices are provided to help facilitate
compliance with the applicable notice requirements.

NOTE: Plans do not need to include this instruction page with the model election notice.

Paperwork Reduction Act Statement

According to the Paperwork Reduction Act of 1995 (Pub. L. 104-13) (PRA), no persons are
required to respond to a collection of information unless such collection displays a valid Office of
Management and Budget (OMB) control number. The Department notes that a Federal agency
cannot conduct or sponsor a collection of information unless it is approved by OMB under the
PRA, and displays a currently valid OMB control number, and the public is not required to respond
to a collection of information unless it displays a currently valid OMB control number. See 44
U.S.C. 3507. Also, notwithstanding any other provisions of law, no person shall be subject to
penalty for failing to comply with a collection of information if the collection of information does
not display a currently valid OMB control number. See 44 U.S.C. 3512.

The public reporting burden for this collection of information is estimated to average
approximately four minutes per respondent. Interested parties are encouraged to send comments
regarding the burden estimate or any other aspect of this collection of information, including
suggestions for reducing this burden, to the U.S. Department of Labor, Office of Policy and
Research, Attention: PRA Clearance Officer, 200 Constitution Avenue, N.W., Room N-5718,
Washington, DC 20210 or email ebsa.opr@dol.gov and reference the OMB Control Number 1210-
0123.

OMB Control Number 1210-0123 (expires 10/31/2016)]
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                   Model COBRA Continuation Coverage Election Notice
                     (For use by single-employer group health plans)

IMPORTANT INFORMATION: COBRA Continuation Coverage and other Health
Coverage Alternatives

[Enter date of notice]

Dear: [Identify the qualified beneficiary(ies), by name or status]

This notice has important information about your right to continue your health care
coverage in the [enter name of group health plan] (the Plan), as well as other health coverage
options that may be available to you, including coverage through the Health Insurance
Marketplace at www.HealthCare.gov or call 1-800-318-2596.             You may be able to get
coverage through the Health Insurance Marketplace that costs less than COBRA
continuation coverage. Please read the information in this notice very carefully before you make
your decision. If you choose to elect COBRA continuation coverage, you should use the election
form provided later in this notice.

Why am I getting this notice?

You’re getting this notice because your coverage under the Plan will end on [enter date] due to
[check appropriate box]:

        End of employment                     Reduction in hours of employment
        Death of employee                     Divorce or legal separation
        Entitlement to Medicare               Loss of dependent child status

Federal law requires that most group health plans (including this Plan) give employees and their
families the opportunity to continue their health care coverage through COBRA continuation
coverage when there’s a “qualifying event” that would result in a loss of coverage under an
employer’s plan.

What’s COBRA continuation coverage?

COBRA continuation coverage is the same coverage that the Plan gives to other participants or
beneficiaries who aren’t getting continuation coverage. Each “qualified beneficiary” (described
below) who elects COBRA continuation coverage will have the same rights under the Plan as other
participants or beneficiaries covered under the Plan.

Who are the qualified beneficiaries?

Each person (“qualified beneficiary”) in the category(ies) checked below can elect COBRA
continuation coverage:

        Employee or former employee
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        Spouse or former spouse
        Dependent child(ren) covered under the Plan on the day before the event that caused
             the loss of coverage
        Child who is losing coverage under the Plan because he or she is no
             longer a dependent under the Plan

Are there other coverage options besides COBRA Continuation Coverage?

Yes. Instead of enrolling in COBRA continuation coverage, there may be other more affordable
coverage options for you and your family through the Health Insurance Marketplace, Medicaid, or
other group health plan coverage options (such as a spouse’s plan) through what is called a “special
enrollment period.” Some of these options may cost less than COBRA continuation coverage.

You should compare your other coverage options with COBRA continuation coverage and choose
the coverage that is best for you. For example, if you move to other coverage you may pay more
out of pocket than you would under COBRA because the new coverage may impose a new
deductible.

When you lose job-based health coverage, it’s important that you choose carefully between
COBRA continuation coverage and other coverage options, because once you’ve made your
choice, it can be difficult or impossible to switch to another coverage option.

If I elect COBRA continuation coverage, when will my coverage begin and how long will the
coverage last?

If elected, COBRA continuation coverage will begin on [enter date] and can last until [enter date].
[Add, if appropriate: You may elect any of the following options for COBRA continuation
coverage: [list available coverage options].
Continuation coverage may end before the date noted above in certain circumstances, like failure
to pay premiums, fraud, or the individual becomes covered under another group health plan.

Can I extend the length of COBRA continuation coverage?

If you elect continuation coverage, you may be able to extend the length of continuation coverage
if a qualified beneficiary is disabled, or if a second qualifying event occurs. You must notify [enter
name of party responsible for COBRA administration] of a disability or a second qualifying event
within a certain time period to extend the period of continuation coverage. If you don’t provide
notice of a disability or second qualifying event within the required time period, it will affect your
right to extend the period of continuation coverage.

For more information about extending the length of COBRA continuation coverage visit
http://www.dol.gov/ebsa/publications/cobraemployee.html.

How much does COBRA continuation coverage cost?
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COBRA continuation coverage will cost: [enter amount each qualified beneficiary will be required
to pay for each option per month of coverage and any other permitted coverage periods.]

Other coverage options may cost less. If you choose to elect continuation coverage, you don’t
have to send any payment with the Election Form. Additional information about payment will be
provided to you after the election form is received by the Plan. Important information about paying
your premium can be found at the end of this notice.

You may be able to get coverage through the Health Insurance Marketplace that costs less
than COBRA continuation coverage. You can learn more about the Marketplace below.

What is the Health Insurance Marketplace?

The Marketplace offers “one-stop shopping” to find and compare private health insurance options.
In the Marketplace, you could be eligible for a new kind of tax credit that lowers your monthly
premiums and cost-sharing reductions (amounts that lower your out-of-pocket costs for
deductibles, coinsurance, and copayments) right away, and you can see what your premium,
deductibles, and out-of-pocket costs will be before you make a decision to enroll. Through the
Marketplace you’ll also learn if you qualify for free or low-cost coverage from Medicaid or the
Children’s Health Insurance Program (CHIP). You can access the Marketplace for your state at
www.HealthCare.gov.

Coverage through the Health Insurance Marketplace may cost less than COBRA continuation
coverage. Being offered COBRA continuation coverage won’t limit your eligibility for coverage
or for a tax credit through the Marketplace.

When can I enroll in Marketplace coverage?

You always have 60 days from the time you lose your job-based coverage to enroll in the
Marketplace. That is because losing your job-based health coverage is a “special enrollment”
event. After 60 days your special enrollment period will end and you may not be able to
enroll, so you should take action right away. In addition, during what is called an “open
enrollment” period, anyone can enroll in Marketplace coverage.

To find out more about enrolling in the Marketplace, such as when the next open enrollment period
will be and what you need to know about qualifying events and special enrollment periods, visit
www.HealthCare.gov.

If I sign up for COBRA continuation coverage, can I switch to coverage in the Marketplace?
What about if I choose Marketplace coverage and want to switch back to COBRA
continuation coverage?

If you sign up for COBRA continuation coverage, you can switch to a Marketplace plan during a
Marketplace open enrollment period. You can also end your COBRA continuation coverage early
and switch to a Marketplace plan if you have another qualifying event such as marriage or birth of
a child through something called a “special enrollment period.” But be careful though - if you
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terminate your COBRA continuation coverage early without another qualifying event, you’ll have
to wait to enroll in Marketplace coverage until the next open enrollment period, and could end up
without any health coverage in the interim.

Once you’ve exhausted your COBRA continuation coverage and the coverage expires, you’ll be
eligible to enroll in Marketplace coverage through a special enrollment period, even if Marketplace
open enrollment has ended.

If you sign up for Marketplace coverage instead of COBRA continuation coverage, you cannot
switch to COBRA continuation coverage under any circumstances.

Can I enroll in another group health plan?

You may be eligible to enroll in coverage under another group health plan (like a spouse’s plan),
if you request enrollment within 30 days of the loss of coverage.

If you or your dependent chooses to elect COBRA continuation coverage instead of enrolling in
another group health plan for which you’re eligible, you’ll have another opportunity to enroll in
the other group health plan within 30 days of losing your COBRA continuation coverage.

What factors should I consider when choosing coverage options?

When considering your options for health coverage, you may want to think about:

      Premiums: Your previous plan can charge up to 102% of total plan premiums for COBRA
       coverage. Other options, like coverage on a spouse’s plan or through the Marketplace, may
       be less expensive.
      Provider Networks: If you’re currently getting care or treatment for a condition, a change
       in your health coverage may affect your access to a particular health care provider. You
       may want to check to see if your current health care providers participate in a network as
       you consider options for health coverage.
      Drug Formularies: If you’re currently taking medication, a change in your health coverage
       may affect your costs for medication – and in some cases, your medication may not be
       covered by another plan. You may want to check to see if your current medications are
       listed in drug formularies for other health coverage.
      Severance payments: If you lost your job and got a severance package from your former
       employer, your former employer may have offered to pay some or all of your COBRA
       payments for a period of time. In this scenario, you may want to contact the Department
       of Labor at 1-866-444-3272 to discuss your options.
      Service Areas: Some plans limit their benefits to specific service or coverage areas – so if
       you move to another area of the country, you may not be able to use your benefits. You
       may want to see if your plan has a service or coverage area, or other similar limitations.
      Other Cost-Sharing: In addition to premiums or contributions for health coverage, you
       probably pay copayments, deductibles, coinsurance, or other amounts as you use your
       benefits. You may want to check to see what the cost-sharing requirements are for other
       health coverage options. For example, one option may have much lower monthly
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       premiums, but a much higher deductible and higher copayments.

For more information

This notice doesn’t fully describe continuation coverage or other rights under the Plan. More
information about continuation coverage and your rights under the Plan is available in your
summary plan description or from the Plan Administrator.

If you have questions about the information in this notice, your rights to coverage, or if you want
a copy of your summary plan description, contact [enter name of party responsible for COBRA
administration for the Plan, with telephone number and address].

For more information about your rights under the Employee Retirement Income Security Act
(ERISA), including COBRA, the Patient Protection and Affordable Care Act, and other laws
affecting group health plans, visit the U.S. Department of Labor’s Employee Benefits Security
Administration (EBSA) website at www.dol.gov/ebsa or call their toll-free number at 1-866-444-
3272. For more information about health insurance options available through the Health Insurance
Marketplace, and to locate an assister in your area who you can talk to about the different options,
visit www.HealthCare.gov.

Keep Your Plan Informed of Address Changes

To protect your and your family’s rights, keep the Plan Administrator informed of any changes in
your address and the addresses of family members. You should also keep a copy of any notices
you send to the Plan Administrator.
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                       COBRA Continuation Coverage Election Form
Instructions: To elect COBRA continuation coverage, complete this Election Form and return it to us.
Under federal law, you have 60 days after the date of this notice to decide whether you want to elect
COBRA continuation coverage under the Plan.
Send completed Election Form to: [Enter Name and Address]
This Election Form must be completed and returned by mail [or describe other means of submission and
due date]. If mailed, it must be post-marked no later than [enter date].
If you don’t submit a completed Election Form by the due date shown above, you’ll lose your right to
elect COBRA continuation coverage. If you reject COBRA continuation coverage before the due date,
you may change your mind as long as you submit a completed Election Form before the due date.
However, if you change your mind after first rejecting COBRA continuation coverage, your COBRA
continuation coverage will begin on the date you submit the completed Election Form.
Read the important information about your rights included in the pages after the Election Form.


I (We) elect COBRA continuation coverage in the [enter name of plan] (the Plan) listed below:

   Name         Date of Birth        Relationship to Employee        SSN (or other identifier)

a. _________________________________________________________________________
       [Add if appropriate: Coverage option elected: _______________________________]
b. _________________________________________________________________________
       [Add if appropriate: Coverage option elected: _______________________________]
c. _________________________________________________________________________
       [Add if appropriate: Coverage option elected: _______________________________]



_____________________________________               _____________________________
Signature                                           Date

______________________________________              _____________________________
Print Name                                          Relationship to individual(s) listed above

______________________________________
______________________________________
______________________________________              ______________________________
Print Address                                       Telephone number
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                            Important Information About Payment

First payment for continuation coverage

You must make your first payment for continuation coverage no later than 45 days after the date
of your election (this is the date the Election Notice is postmarked). If you don’t make your first
payment in full no later than 45 days after the date of your election, you’ll lose all continuation
coverage rights under the Plan. You’re responsible for making sure that the amount of your first
payment is correct. You may contact [enter appropriate contact information, e.g., the Plan
Administrator or other party responsible for COBRA administration under the Plan] to confirm
the correct amount of your first payment.

Periodic payments for continuation coverage

After you make your first payment for continuation coverage, you’ll have to make periodic
payments for each coverage period that follows. The amount due for each coverage period for
each qualified beneficiary is shown in this notice. The periodic payments can be made on a
monthly basis. Under the Plan, each of these periodic payments for continuation coverage is due
[enter due day for each monthly payment] for that coverage period. [If Plan offers other payment
schedules, enter with appropriate dates: You may instead make payments for continuation
coverage for the following coverage periods, due on the following dates:]. If you make a periodic
payment on or before the first day of the coverage period to which it applies, your coverage under
the Plan will continue for that coverage period without any break. The Plan [select one: will or
will not] send periodic notices of payments due for these coverage periods.

Grace periods for periodic payments

Although periodic payments are due on the dates shown above, you’ll be given a grace period of
30 days after the first day of the coverage period [or enter longer period permitted by Plan] to
make each periodic payment. You’ll get continuation coverage for each coverage period as long
as payment for that coverage period is made before the end of the grace period. [If Plan suspends
coverage during grace period for nonpayment, enter and modify as necessary: If you pay a
periodic payment later than the first day of the coverage period to which it applies, but before the
end of the grace period for the coverage period, your coverage will be suspended as of the first day
of the coverage period and then retroactively reinstated (going back to the first day of the coverage
period) when the periodic payment is received. This means that any claim you submit for benefits
while your coverage is suspended may be denied and may have to be resubmitted once your
coverage is reinstated.]

If you don’t make a periodic payment before the end of the grace period for that coverage period,
you’ll lose all rights to continuation coverage under the Plan.

Your first payment and all periodic payments for continuation coverage should be sent to:

[enter appropriate payment address]
